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IN THE UNITED STATES DISTRICT COURT oe
FOR THE SOUTHERN DISTRICT OF GEORGIA).°..' ~ ait
AUGUSTA DIVISION A nee INEST

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UNITED STATES OF AMERICA * y -
Vv. * CR 106-081 ous Ui =e
*
DONALD M. REYNOLDS *
ORDER

On March 7, 2006, a jury convicted Defendant Donald M.
Reynolds of armed bank robbery (Count One) and discharging a
firearm during a crime of violence (Count Two). He was also
convicted of possession of a firearm and ammunition by a convicted
felon, a violation of 18 U.S.C. § 922(g)(1) (Count Three). On
July 31, 2007, Defendant was sentenced to a total term of 420
months imprisonment, consisting of 300 months on Count One; 120
months on Count Three, to run concurrently with Count One; and 120
months on Count Two to be served consecutively to Counts One and
Three.

On January 29, 2020, Defendant filed a petition for writ of
habeas corpus pursuant to 28 U.S.C. § 2241 in the district of his
confinement, the Southern District of West Virginia. On March 1,
2023, the United States District Court for the Southern District

of West Virginia vacated Defendant’s § 922(g) (1) conviction (Count

 
 

 

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Three),+ and the case was transferred to this Court for further
proceedings. Notably, Defendant represented himself in the § 2241
proceeding.

On March 8, 2023, the United States Attorney for the Southern
District of Georgia was directed to notify this Court of her
intended course of action with respect to this case. (Doc. No.
277.) Prior to her response, Defendant filed a “Motion to Vacate
Conviction and Sentence Following Successful 28 U.S.C. 2241”;
“Motion for Resentencing”; “Objection to the Court’s Factual
Finding in Order”; and “Motion to Appoint Counsel.”?2 Following
the Government’s response, wherein it indicates that it will not

seek a retrial, Defendant filed a “Memorandum in Support of Motion

for Full Resentencing”; “Affidavit in Support of Motion for Full
Resentencing”; “Memorandum of Law in Support of Motion for Full
Resentencing”; “Reply to Government’s Response”; and “Citation to

Binding Precedent in Support of Motion for Full Resentencing.”

 

1 The habeas court vacated Defendant's § 922(g)(1) conviction
based upon Rehaif v. United States, 139 S. Ct. 2191 (2019), finding
an absence of evidence by which the jury could have found that
Defendant knew he was a felon when he possessed the firearm. (See
Doc. No. 275.)

 

2 Defendant “cross-filed” these motions in the instant underlying
criminal case and in the civil case opened upon transfer of the
habeas case from the Southern District of West Virginina (Case No.
CV 123-021). The Court has closed the civil case (see doc. no.
274), has not allowed Defendant's filings to be included in the
civil case, and instructs Defendant to limit his filings to the
criminal case number, CR 106-081, henceforth.

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The sum total of these filings is that Defendant seeks a
plenary resentencing, requesting not only the vacatur of his §
922(g) (1) conviction, but a new Presentence Investigation Report,
a new resentencing hearing, and a remolded sentence to include
consideration of his rehabilitation while in prison. The
Government opposes Defendant’s motions, contending that the Court
should exercise its discretion to simply vacate the § 922(qg) (1)
count and reimpose the original sentence.

The Court first addresses Defendant’s request for counsel. A
defendant has a constitutional right to counsel through his direct

appeal. See Pennsylvania v. Finley, 481 U.S. 551, 555 (1987)

 

(holding that Sixth Amendment right to counsel extends through
first direct appeal as of right and no further). While the
Criminal Justice Act provides that “[a] person for whom counsel is

appointed shall be represented at every stage of the proceedings

from his initial appearance . . . through appeal, including
ancillary matters appropriate to the proceedings,” 18 U.S.C. §
3006A(c), this “resentencing” is ancillary to Defendant’s § 2241

postconviction proceeding, not the original sentencing. The right
to counsel does not extend to postconviction proceedings. See,

e.g., United States v. Davis, 400 F. App’x 538, 540 (11% Cir.

 

2010); Barbour v. Haley, 471 F.3d 1222, 1227 (1it# Cir. 2006) (eLted
sources omitted). Further, the Court concludes that the interests

of justice does not require appointment of counsel because

 
 

 

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Defendant has been able to articulate his factual and legal
contentions not only in this matter but in his successful § 2241
proceeding. Finally, the Court notes that the applicable legal
doctrines are readily apparent. For these reasons, Defendant’s
motion for appointment of counsel (doc. no. 284) is DENIED.

The Court also denies Defendant’s request for a de novo

resentencing hearing. In United States v. Brown, 879 F.3d 1231

 

(11% Cir. 2018), the Eleventh Circuit addressed whether a
defendant is entitled to a resentencing hearing when a change to
his sentence is required as a result of his successful petition
for habeas relief under 28 U.8.C. § 2255. The Brown court
identified two factors for consideration: (1) “did the errors
requiring the grant of habeas relief undermine the sentence as a
whole?”; and (2) “will the sentencing court exercise significant
discretion in modifying the defendant’s sentence, perhaps on
questions the court was not called upon to consider at the original
sentencing?” Id. at 1239-40. As further explained in United

States v. Thomason, 940 F.3d 1166, 1172 (11t5 Cir. 2019), if these

 

two factors are present, the defendant is entitled to a hearing on
resentencing. However, “f[a] district court need not conduct a
full sentencing when correcting the error does not change the
guideline range and the district court does not make the sentence

more onerous.” Td.

 
 

 

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In order to assess these factors, the Court will explain its
original sentence in more detail. For purposes of the United
States Sentencing Guidelines, Count One (armed bank robbery) and
Count Three (the now-vacated possession of a firearm by a convicted
felon) were grouped together pursuant to U.S.S.G. § 3D1.2(c). The
guideline calculation for Count One resulted in an Adjusted Offense
Level of 30, while the guideline calculation for Count Three
resulted in an Adjusted Offense Level of 22. Pursuant to U.S.S.G.
§ 3D1.3(a), the highest offense level was used to calculate the
guideline range. With a Total Offense Level of 30 and Criminal
History Category of IV, the guideline range was 135 to 168 months
as to Counts One and Three. Because Count One determined the
applicable offense level, the elimination of Count Three would
have no impact on the guideline range of 135 to 168 months.

Once the guideline range was determined, the Court departed
upward in accordance with U.S.S.G. § 5K2.6, which allows for the
increase of a sentence above the authorized guideline range if a
weapon is used or possessed in the commission of the offense. The
extent of the increase may depend upon the dangerousness of the
weapon, the manner in which it was used, and the extent to which

its use endangered others. The discharge of a firearm may warrant

 

3 There was no guideline calculation related to Count Two
(discharging a firearm during a crime of violence) because the
guideline sentence was the minimum required by statute, i.e., a
120-month consecutive sentence.

 
 

 

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a substantial sentence increase. In this case, Defendant
brandished a shotgun upon entry into the Queensborough Bank in
Hephzibah, Georgia. He immediately discharged the firearm into
the ceiling. He fired the weapon into the office of an employee,
who had dropped to the floor behind her desk. He also fired the
weapon in the direction of another employee, yelling “Stop looking
at me!”; while the shot hit the carpet near the employee, some of
the shotgun pellets struck her left arm. Defendant pointed the
shotgun directly in the face of the teller who he robbed. Finally,
Defendant fired the shotgun at the law enforcement officer who had
stopped the escape vehicle. As the Court noted in the Statement
of Reasons supporting the upward departure, Defendant wantonly
terrorized the employees of the bank during the robbery, and it
was very fortunate that none of the employees were killed. The
Court concluded that the guideline range of 135 to 168 months was
inadequate for the purposes of punishment and deterrence. The
Court thus imposed a 300-month sentence. The § 922(g) (1) count
had absolutely no impact on this sentence.

So, with respect to Brown's first inquiry, the Court’s Rehaif
“error” does not in any way undermine his sentence as a whole. As
the Thomason court stated, “[a]n error undermines the sentence as
a whole when it forces the district court to revisit the entire
sentence.” 940 F.3d at 1172. This Court need not do so here.

Without the § 922(g) (1) conviction, Defendant’s guideline range of

 
 

 

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135 to 168 months is unchanged, and the factual support for the
upward departure is also unchanged. The Court would still have
imposed a 300-month sentence for the armed bank robbery. With

respect to Brown’s second inquiry, the relief afforded Defendant

 

by the habeas court is very limited. The habeas court vacated an
essentially superfluous conviction for sentencing purposes; that
is, the vacatur of the § 922(g) (1) count does not call upon this
Court to answer questions it did not consider at the original
sentencing. Consequently, the Court is not required to and indeed

declines to have a resentencing hearing. Accord United States v.

 

Hernandez, 735 F. App’x 998 (11%? Cir. 2018) (affirming district
court’s denial of a resentencing hearing following a reduction of
sentence on a concurrent § 922(q) (1) offense).

Defendant insists over his multiple filings that because his
§ 922(g)(1) conviction was grouped with the armed robbery
conviction, it must have influenced the sentence imposed on the
armed robbery count. In his estimation, a recalculation of the
guidelines is appropriate. Yet, the guidelines remain unchanged
upon recalculation, and as explained above, the § 922(g) (1)
conviction played no part in the Court’s upward departure on the
concurrent armed robbery conviction. Defendant seems to think
that the Court must now ignore the fact that he had the shotgun
while he robbed the bank. It was not, however, Defendant’s

“possession” of the firearm, whether he was a convicted felon or

 
 

 

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not, that led to the upward departure. It was Defendant’s “use”
of the firearm - the terror he lorded over the bank employees and
threat of life lost to the law enforcement officer. Defendant’s
status as a convicted felon played absolutely no role in the
sentencing determination.

Defendant also takes exception with not having been notified
of the Court’s intent to upwardly depart from the guideline range
as required by Federal Rule of Criminal Procedure 32(h). However,
the Presentence Investigation Report contained notice to Defendant
that an upward departure may be warranted under U.S.S.G. § 5K2.6.
(PSI § 109.) Accordingly, Defendant’s claim of lack of notice is
without merit.

Finally, to the extent that Defendant desires to explicate
his rehabilitation while in prison, there is no need for a hearing
given the Court’s distinct recall of the trial testimony of the
weeping bank teller who came face to face with the shotgun and of
the victim impact letters of the four bank employees, each of whom
described the trauma as life-altering. No matter how genuine or
absolute, Defendant’s rehabilitation does not mitigate the Court’s
conclusion that the sentence imposed was and remains’ the
appropriate societal response to the armed robbery. Defendant's
service of any less time than 300 months on this charge would not
serve the purposes of sentencing under 18 U.S.C. § 3553(a),

particularly for the need of the sentence imposed to reflect the

 
 

 

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seriousness of the offense, provide just punishment for the
offense, and afford adequate deterrence to criminal conduct. See
Thomason, 940 F.3d at 1172 (“But when the district court vacates
a single count in a multi-count conviction, it has the discretion
to determine whether it needs to conduct a full resentencing to
ensure that the sentence remains ‘sufficient, but not greater than
necessary, to comply with the purposes [of sentencing in section
3553(a)]'” (quoted sources omitted)).

Upon the foregoing, Defendant Donald M. Reynolds's conviction
under 21 U.S.C. § 922(g)(1) (Count Three) for possession of a
firearm by a convicted felon is VACATED. All other terms and
conditions of the Judgment and Commitment Order entered on August
6, 2007 (doc. no. 159) shall remain in full force and effect,
including the sentence of 300 months imprisonment for the armed
robbery conviction (Count One) and 120 months imprisonment for the
discharge of a firearm conviction (Count Two), to be served
consecutively. The Clerk is directed to terminate all pending
motions and deadlines in the case.

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ORDER ENTERED at Augusta, Georgia, this JB day of April,

UNITED STATES DISTRICT JUDGE

2023.

 
